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ORIGINAL

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
§
Vv. § CRIMINAL NO.: 5:18-CR-215-S
§
FRANCISCO FLORES §
CRIMINAL INFORMATION

 

THE UNITED STATES ATTORNEY CHARGES THAT:

On or about March 8, 2018, in the Southern District of Texas and within the jurisdiction of

the Court, defendant,

FRANCISCO FLORES

then being an unlawful user of a controlled substance as defined in 21 U.S.C. Section 802, did

knowingly possess in and affecting commerce at least one firearm, to wit:

(1)
(2)
(3)
(4)
(5)
(6)
(7)
(8)
(9)

Remington Arms, model 700, .22 caliber rifle bearing serial number: AY537933
Remington Arms, model 700, .222 caliber rifle bearing serial number: B6438591
Winchester, model 70, 300 caliber rifle bearing serial number: G2443999

Mossberg, model 100, .243 caliber rifle bearing serial number: BA246872
Thompson/Center Arms Co., model “Super 14”, 30-30 caliber serial number: 109925
Volunteer Enterprises, model Commando Mark 45, .45 caliber rifle serial number 59722
Yildiz Shotgun Ind., model TS870, 20 gauge shotgun bearing serial number: 1733
Smith and Wesson, model 422, .22 caliber pistol bearing serial number: UAH9282
Keltec CNC Industries, model P32, .32 caliber pistol bearing serial number 101280

(10) Browning, model BL22, .22 caliber rifle bearing serial number: 3377731

said firearm having been shipped and transported in interstate and foreign commerce.

In violation of Title 18, United States Code, Sections 922(g)(3), 924(a)(2).
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NOTICE OF FORFEITURE
18 U.S.C. §924(d)(1)

Pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United States
Code, Section 2461(c), the United States gives notice to defendant,

FRANCISCO FLORES

that upon conviction of a violation of Title 18, United States Code, Section 922(g), all
firearms/ammunition involved in said violation are subject to forfeiture, including but not limited

to the following:

 

(1) Remington Arms, model 700, .22 caliber rifle bearing serial number: AY537933

(2) Remington Arms, model 700, .222 caliber rifle bearing serial number: B6438591

(3) Winchester, model 70, 300 caliber rifle bearing serial number: G2443999

(4) Mossberg, model 100, .243 caliber rifle bearing serial number: BA246872

(5) Thompson/Center Arms Co., model “Super 14’, 30-30 caliber serial number: 109925
(6) Volunteer Enterprises, model Commando Mark 45, .45 caliber rifle serial number 59722
(7) Yildiz Shotgun Ind., model TS870, 20 gauge shotgun bearing serial number: 1733

(8) Smith and Wesson, model 422, .22 caliber pistol bearing serial number: VAH9282

(9) Keltec CNC Industries, model P32, .32 caliber pistol bearing serial number 101280

(10) Browning, model BL22, .22 caliber rifle bearing serial number: 3377731

RYAN K. PATRICK

United $tates Attorne
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Gratiela R. Lindbere 7”
Assistant United States Attorney

 

 
 

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USA-74-24b

 

 

 

(Rev. 6-1-71)
CRIMINAL DOCKET
LAREDO DIVISION NO._16-CR-00215

FILE: 16R01269
CRIMINAL INFORMATION Filed: «GJ]_DATE» - Judge: Marmolejo

ATTORNEYS:
UNITED STATES OF AMERICA

RYAN K PATRICKGIDSON, USA
VS. GRACIELA R. LINDBERG, AUSA
FRANCISCO FLORES
CHARGE:

Ct. 1: Possession of a firearm by a prohibited person
[18 USC 922(g)(3) and 924(a)(2)]

TOTAL COUNTS: 1

PENALTY: Ct. 1: 0 to 10 Years and/or $250,000, $100 Special Assessment,
Up to a3 Year Term of Supervised Release

In Jail:
On Bond:
Name and Address of Surety:

No Arrest:

 

 
